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                                                                            CASE NO.: 1:15-BK-12517-LMI




                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


   In re:                                                           CASE NO.: 1:15-BK-12517-LMI
                                                                                   CHAPTER: 13
   TORA LEVY

             Debtor.
                                     /

                   OBJECTION TO DEBTOR’S MOTION FOR ISSUANCE
             OF DISCHARGE AND NOTICE OF DEADLINE TO OBJECT [D.E. 144]

             COMES NOW, U.S. BANK TRUST NATIONAL ASSOCIATION AS TRUSTEE OF

   THE LODGE SERIES III TRUST (“Secured Creditor”), by and through its undersigned

   counsel, files this instant objection to Debtor’s Motion for Issuance of Discharge and Notice of

   Deadline to Object [D.E. 144]. In support; Secured Creditor states as follows:

        1.       On February 10, 2015, the debtor, Tora Levy, (“Debtor”) filed a Voluntary Chapter 13

Petition.

        2.       Secured Creditor has a secured interest in real property located at 20100 SW 84th Place

Miami, Florida 33189 (the “Subject Property”).

        3.       On April 30, 2015, the Debtor filed an Ex-Parte Verified Motion for Referral to

Mortgage Modification Mediation (“MMM”) with Lender Wells Fargo Home Mortgage [DE# 42]

relating to the Subject Property.

        4.       On May 1, 2015, this Court entered an Order Granting Verified Motion for Referral to

Mortgage Modification Mediation [DE# 44].

        5.       On July 20, 2015, the Mediator, Anthony A. Roca, entered a Final Report of Mortgage

Modification Mediator [DE# 71]. Per the Final Report, the parties did not reach an agreement.

        6.       Secured Creditor timely filed its proof of claim on July 8, 2015 (Claim 4-1) reflecting
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of a total secured claim in the amount of $446,135.32; approximate prepetition arrearages in the

amount of $189,421.27 and an ongoing bi- weekly monthly payment of $1,366.75.

        7.     On May 4, 2018, the Debtor filed the Fifth Modified Plan [DE #116] (the “Plan”).

        8.     On June 20, 2018, this Court entered an Order Granting Motion to Modify Plan. [DE#

118].

        9.     While the Debtor’s Plan conforms to Creditor’s arrearages, the Plan failed to conform

to the Secured Creditor’s Proof of Claim and Payment Changes in relation to the bi-weekly ongoing

monthly payment resulting in a post-petition delinquency as follows:

               16 PAYMENTS DUE 03/11/19 thru 10/07/19 $1,395.61                      =$22,329.76
               19 PAYMENTS DUE 10/21/19 thru 06/29/20 $1,363.81                      =$25,912.39
               OWED BY BORROWER (escrow)                                             =$40,466.25
               REINSTATEMENT TOTAL                                                   =$88,708.40


        10.    Secured Creditor thus requests that the Court not enter a discharge due to Debtor’s

failure to maintain ongoing post-petition mortgage payments to Secured Creditor.

        WHEREFORE, U.S. BANK TRUST NATIONAL ASSOCIATION AS TRUSTEE OF THE

LODGE SERIES III TRUST respectfully requests the Court enter an order denying Debtor’s Motion for

Issuance of Discharge and Notice of Deadline to Object , and granting any and all such other relief as the

Court deems just and appropriate. Secured Creditor reserves the right to amend and/or supplement this

Objection, as necessary.

                                                      Respectfully submitted,
                                                      GHIDOTTI | BERGER, LLP
                                                      Attorneys for Secured Creditor
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                                                      By:     /s/ Christophal Hellewell
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                         CERTIFICATE PURSUANT TO LOCAL RULE 2090-1

        I certify that I am admitted to the Bar of the United States District Court for the Southern District of

Florida and I am in compliance with the additional qualifications to practice in this court as set forth in Local

Rule 2090-1(A).



                                         By:     /s/ Christophal Hellewell
                                                 Christophal Hellewell, Esq.


                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 29, 2020, I electronically filed the foregoing document with the

Clerk of the Court using CM/ECF.

        I also certify that the foregoing document is being served this day, either via transmission of Notice of

Electronic Filing generated by CM/ECF or by first class U.S. Mail, upon:

 Debtor                                                  Debtor’s Counsel
 Tora Levy                                               Robert Sanchez, Esq
 20100 S.W. 84th Place                                   355 W. 49th Street
 Miami, FL 33189                                         Hialeah, FL 33012

 Trustee                                                 U.S. Trustee
 Nancy K. Neidich                                        Office of the US Trustee
 P.O. Box 279806                                         51 S.W. 1st Avenue, Suite 1204
 Miramar, FL 33027                                       Miami, FL 33130




                                         By:     /s/ Christophal Hellewell
                                                 Christophal Hellewell, Esq.
